Case 2:05-cv-04182-SRD-JCW Document 19020-13 Filed 06/19/09 Page 1 of 17




            APPENDIX N
 Case 2:05-cv-04182-SRD-JCW Document 19020-13 Filed 06/19/09 Page 2 of 17




     ARMY CORPS’ KNOWLEDGE OF THE MR-GO’S DEFECTS AND RISK OF
                     CATASTROPHIC FLOODING

Hurricane Surge

       207.    Four decades before Hurricane Katrina, the Army Corps acknowledged the MR-

GO was a direct, efficient route for hurricane surge into the heart of Greater New Orleans,

created undesirable effects of excessive, high velocity, and erosive currents in the IHNC and

significant salinity increases, and had the potential to deliver storm surges that would cause

catastrophic property damage and loss of human life. Exh. 10, House Doc. No. 231, at pp. 17,

25, 63; Exh. 140, Memo re: LPV to Chief of Engineers, Department of the Army from Major

General R.G. MacDonnell (July 24, 1963) at NED-213-000000433; Exh. 152, Letter of

Department of the Army, New Orleans District, Corps of Engineers from Colonel Thomas J.

Bowen, District Engineer to Acting Division Engineer, Lower Mississippi Valley (October 19,

1966) at p. AFW-467-000001821; Exh. 4, Team Louisiana Report at pp. vii; 223; Exh. 20, IPET

Report at p. IV-2, IV-135 to IV-136; Exh. 8, Naomi 30(b)(6) Depo. at 323:24-325:6.

       208.    In 1969, the Corps was warned that unless it constructed floodgates on the MR-

GO, the Corps was leaving “a big door open” for catastrophic flooding of New Orleans. Exh.

1938, Letter to Representative Edward Herbert from John L. Crosby (General Contractors and

Builders), Aug. 25, 1969, AFW-467-000000224-228.

       209.    In 1988, the Lower Mississippi Valley Division of the Army Corps recommended

that the alternative of completely closing the MR-GO should be evaluated in order to “reduce the

possibility of catastrophic damage to urban areas by a hurricane surge coming up this waterway

[the MR-GO]. . . .” Exh. 9, 1988 Recon Report at Comment 2.

       210.    After the MR-GO reached project-authorized dimensions, the Army Corps

received notice on multiple occasions about the risk of serious flooding posed by the hazards to



                                                61
 Case 2:05-cv-04182-SRD-JCW Document 19020-13 Filed 06/19/09 Page 3 of 17




life and property that it created in placing into Greater New Orleans a deep channel with direct

access to the Gulf of Mexico. Exh. 91, Kemp Expert Report (July 2008) at pp. 21-31, 170-92,

191-95.

       211.    In 1966, the Army Corps acknowledged that during Hurricane Betsy large

amounts of water flowed through the Reach 1/GIWW into the IHNC which then exited into Lake

Pontchartrain. Exh. 180, LPV Design Memo No. 2: Citrus Back Levee, Appendix E: Report on

the Controlling Elevation of the Seabrook Lock, at p. 4..

“Funnel Effect”

       212.    Before the MR-GO was dredged through the Breton Sound drainage system, there

was well established science to understand how its construction would impact the magnitude of

hurricane storm surge in the New Orleans region. Thus, the Corps should have anticipated the

potential increase in funneling of storm surge waters toward New Orleans. Exh. 96, Fitzgerald

Expert Report (July 2008) at p. 7-3.

       213.    The coastal hazard conditions of Greater New Orleans—created in part by a series

of northwest-southeast oriented, inter-connected nested funnels aligned between Lake

Pontchartrain and the Gulf of Mexico—were well known to the Army Corps long before the

MR-GO’s construction in light of the region’s well documented hurricane history. However, this

historic knowledge of storm flooding was not made an integral part of the decision-making when

the MR-GO and other waterways and channels (such as the GIWW) were dredged through this

flood prone area. Exh. 96, Fitzgerald Expert Report (July 2008) at p. 7-1.

       214.    Before the MR-GO’s construction, the Corps’ own research had established that

the highest storm surge elevations coincided with the funnel-shaped shoreline alone Lake




                                                62
 Case 2:05-cv-04182-SRD-JCW Document 19020-13 Filed 06/19/09 Page 4 of 17




Okeechobee during the August 26-27, 1949 Hurricane. Exh. 96, Fitzgerald Expert Report (July

2008) at p. 7-3.

       215.    Before and after the MR-GO’s construction, the Corps published their own

manuals that recognized the effect of funnel-shaped coastlines in causing significant water level

elevations during storms (between 10 and 13 feet in two instances in 1949 and 1957). Exh. 96,

Fitzgerald Expert Report (July 2008) at p. 7-1.

       216.    In designing and constructing the MR-GO, the Army Corps ignored known

hazards posed by the “funnel effect” enabling hurricane storm surge from Lake Borgne and the

Gulf of Mexico (via Reach 2) to flow into the confined channel of the GIWW/Reach 1 separating

New Orleans East and the Ninth Ward/St. Bernard Parish. Exh. 4, Team Louisiana Report at pp.

xii, pp. 223-24, Fig. 158; 230, 235-40; Exh. 5, USACE - New Orleans District Correspondence

to Manuel Pinto (November 26, 1969) at pp. 1-2, 7-9; Exh. 1, Graci IV at 191, ¶7, 192, ¶12;;

Exh. 8, Naomi 30(b)(6) Depo. at 156:1-11; 178:23-179:16; Exh. 10, House Doc. No. 231 at p.

17; Exh. 26, Decision Making Chronology at pp. ES-6-7; Exh. 2, ILIT at p. 8-6; Exh. 7, Kemp

702c Report at pp. 25-33.

       217.    While the MR-GO was being constructed, and for many years right up to

Hurricane Katrina, the Army Corps was warned that the funnel created a back door that would

accelerate and intensify hurricane storm surges emerging from Lake Borgne and the Gulf into the

Greater New Orleans area. Exh. 10, H.R. Doc. No. 231 at p. 17; Exh. 5, USACE - New Orleans

District Correspondence to Manuel Pinto (November 26, 1969) at pp. 1-2, 7-9.

       218.    Long before Hurricane Katrina, the Army Corps knew or should have known

about the role of the MR-GO “funnel” as a storm surge conduit that was likely to cause




                                                  63
 Case 2:05-cv-04182-SRD-JCW Document 19020-13 Filed 06/19/09 Page 5 of 17




catastrophic flooding. See e.g., Exh. 153, CRS Report for Congress, Mississippi River Gulf

Outlet (MR-GO): Issues for Congress, Nicole T. Carter, Charles V. Stern, Aug. 4, 2006, at p. 7.

       219.    From the time the MR-GO was being constructed and thereafter, the Army Corps

knew that the MR-GO created a funnel that could enhance surge, waves, and currents during

hurricanes and create a serious flooding risk. Exh. 147, Letter from Kenneth J. Le Sieur to

Colonel Thomas J. Bowen, November 24, 1965; Exh. 148, October 1, 1969 draft memorandum

regarding the proposed Mississippi River-Gulf Outlet New Ship Lock and reviewing the Dock

Board Proposals for a St. Bernard Parish Site, at AFW-143-000001049; Exh. 8, Naomi 30(b)(6)

Depo. at 357:15-360:12; Exh. 150, Disposition Form dated 06-21-1971; Subject: MR-GO—New

Ship Lock; Return Levees; signed by Mask at AFW-440-000000938; Exh. 149, Memo re MR-

GO—New Ship Lock; Return Levees (Aug. 16, 1971) at AFW-440-000000936; Exh. 143,

Environmental Impact Study Ship Channel Project prepared by Coastal Environments, Inc.,

(October 1972) at p. 54; Exh. 139, Army Corps, Environmental Considerations of an Expanded

Mississippi River-Gulf Outlet, Appendix I at NED-111-000001197; Exh. 20, IPET Report at p.

IV-258.

       220.    In 1966, after Hurricane Betsy but before completion of the MR-GO’s

construction, the Army Corps commissioned a report (Bretschneider and Collins, Storm Surge

Effects of the Mississippi River Gulf Outlet (1966) (“Bretschneider and Collins Report”) which

concluded that in all cases (slow, moderate, and rapidly rising surge during hurricanes), the

predicted effect of building the contemplated LPV levee system that now forms the throat of the

funnel was to hasten the onset of peak surge and to lengthen the period of highest water. Exh. 4,

Team Louisiana Report at pp. 249-50.




                                                64
 Case 2:05-cv-04182-SRD-JCW Document 19020-13 Filed 06/19/09 Page 6 of 17




       221.   As early as 1966, the Army Corps understood that under certain hurricane

conditions, the MR-GO would have “a marked effect” on storm surge and on wave action. Exh.

68, Bretschneider & Collins Study at p. 4; Exh. 185, memo “MR-GO, St Bernard Parish (Bank

Erosion) rev Recon Study (December 9, 1992), at NED 192-000000684.

       222.   In 1964, both the New Orleans District and Lower Mississippi Valley Division

Engineers acknowledged that the MR-GO—even without hurricanes—had increased velocities

in the IHNC that were hazardous to navigation in the canal. Exh. 1939, Report of the Chief of

Engineers, Department of the Army, Headquarters Memo from Lieutenant W.K. Wilson, Jr. to

The Secretary of the Army, Subject: Lake Pontchartrain and Vicinity, Louisiana dated

03/04/1964 at p. 2 (MVD-001-000000423).

       223.   The existence and severity of the “funnel effect” is further confirmed by

significant, emergency post-Katrina corrective measures that the Army Corps has undertaken in

order to remediate the “funnel effect.” As part of its 100 Year Level Protection Plan, the Army

Corps is constructing the IHNC Surge Reduction Barrier across the mouth of the funnel and the

Golden Triangle between the GIWW and Reach 2. Exh. 130, Gibb Owen 30(b)(6) Depo (Oct.

16, 2008) at 77:9-78:7; 119:18-121:23; Exh. 131, Greater New Orleans Hurricane and Storm

Damage Risk Reduction System (HSDRRS) Status June 2008; Exh. 132, New Orleans Hurricane

and Storm Damage Risk Reduction System 2008 Facts and Figures by the U.S. Army Corp of

Engineers dated August 28, 2008; Exh. 133, IHNC Surge Reduction Project Fact Sheet by the

U.S. Army Corp of Engineers; Exh. 136, Draft Individual Environmental Report, Improved

Protection on the Inner Harbor Navigation Canal, Orleans and St. Bernard Parishes, Louisiana,

IER #11 Tier 2 Borgne by the U.S. Army Corps of Engineers, at pp. 52-53.




                                               65
 Case 2:05-cv-04182-SRD-JCW Document 19020-13 Filed 06/19/09 Page 7 of 17




       224.    The purpose of the IHNC Surge Reduction Barrier—a new feature, authorized by

Congress in 2006—is to reduce risk of storm damage to some of the region’s areas most

vulnerable to flooding—New Orleans East, metro New Orleans, the 9th Ward, and St. Bernard

Parish. Exh. 133, IHNC Surge Reduction Project Fact Sheet by the U.S. Army Corp of

Engineers at pp. 1-2; Exh. 136 Draft Individual Environmental Report, Improved Protection on

the Inner Harbor Navigation Canal, Orleans and St. Bernard Parishes, Louisiana, IER #11 Tier 2

Borgne by the U.S. Army Corps of Engineers, at pp. 52-53; Exh. 130, Gibb Owen 30(b)(6) Depo

(Oct. 16, 2008) at 77:9-78:7; 119:18-121:23.

       225.    The Army Corps has stated that “[t]he overall purpose of the project is to provide

a comprehensive, integrated protection system that would reduce the imminent and continuing

threat to life, health, and property posed by flooding from hurricanes and other tropical storm

events.” Exh. 20 at p. 4, ¶1.1 (Owen Depo. Exhibit 4).

       226.    This project aims to protect these areas from storm surge coming from the Gulf of

Mexico and Lake Borgne. Exh. 133, IHNC Surge Reduction Project Fact Sheet by the U.S.

Army Corp of Engineers at p. 1; Exh. 136, Draft Individual Environmental Report, Improved

Protection on the Inner Harbor Navigation Canal, Orleans and St. Bernard Parishes, Louisiana,

IER #11 Tier 2 Borgne by the U.S. Army Corps of Engineers at pp. 52-53; Exh. 130, Gibb Owen

30(b)(6) Depo (Oct. 16, 2008) at 77:9-78:7; 119:18-121:23.

       227.    The Army Corps’s decision to recommend the IHNC Surge Reduction Barrier

comes in the wake of the following IPET recommendation for this remedial measure: “To

prevent storm surge in Lake Borgne from influencing water levels experienced in the IHNC or

GIWW/MR-GO sections of waterway, flow through Reach 1 channel must be dramatically

reduced or eliminated, either by a permanent closure or some type of structure that temporarily




                                                66
 Case 2:05-cv-04182-SRD-JCW Document 19020-13 Filed 06/19/09 Page 8 of 17




serves to eliminate this hydraulic connectivity [between Lake Borgne and Lake Pontchartrain via

GIWW/MR-GO and the IHNC].” Exh. 20, IPET Report at p. IV-135; Exh. 130, Gibb Owen

30(b)(6) Depo (Oct. 16, 2008) at 68:23-70:4.

       228.    The Army Corps’s planners took into account IPET data from Hurricane Katrina

showing that as a result of storm surges from Lake Borgne propagating down the Reach

1/GIWW into the IHNC, the water elevation during Hurricane Katrina rose seven feet higher in

the IHNC (water level of three feet plus waves up to four feet high). Exh. 135, Decision Record,

Individual Environmental Report #11, Improved Protection on the Inner Harbor Navigation

Canal by the U.S. Army Corps of Engineers at p. 36; Ex. 130, Owen Depo. at 91:14-93:9.

Wetlands Destruction

       229.    Long before Hurricane Katrina, the Army Corps knew that the MR-GO was

destroying tens of thousands of acres of cypress forests, grasses, marshes, swamps, trees, shrubs

and other wetlands (“wetlands”) that provided a natural barrier and sponge for storm surge and

that the loss of these wetlands reduced storm surge protection for New Orleans and St. Bernard

Parish. Exh. 144, 1957 Tidewater Channel Advisory Committee Report at p. 2; Exh. 96,

Fitzgerald Report at p. 4-20, Fig. 4.6; Exh. 178, USACE Fact Sheet; Exh. 161, letter from United

States Secretary of the Interior, Fred A. Seaton to Army Secretary Wilber M. Bruckner, August

22, 1957; Exh. 155, U.S. Department of the Interior, U.S. Fish and Wildlife Service, Press

Release, September 26, 1957, at p. 1; Exh. 179, U.S. Fish and Wildlife Service, An Interim

Report on Fish and Wildlife Resources as Related to Mississippi River Gulf Outlet Project,

(April 1958) at pp. 9-11; Exh. 9, 1988 Recon Report at p. 27; Exh. 4, Team Louisiana Report at

p. 112; Exh. 95, Day/Shaffer Expert Report (July 2008) (July 2008) at pp. 16-20, 46.




                                               67
 Case 2:05-cv-04182-SRD-JCW Document 19020-13 Filed 06/19/09 Page 9 of 17




to what came across the failed Reach 2 alignment. The major difference in performance of the

LPV structures was the better protection afforded by natural vegetation and no wave attack

caused by the Reach 2 channel. Exh. 4, Team Louisiana Report at p. 135, Figure 44, 89a; Exh.

98, Morris Expert Report (July 2008) at p. 10.

                                  SOURCES OF FLOODING

       538. The depth of floodwaters at Plaintiffs’ property—what it was during Katrina and

what it would have been without the MR-GO’s impact on LPV structures (Scenario 2c)—is as

follows:

                                             Actual          Scenario 2c

Norman and Monica Robinson                       13’         <2’

Lattimore and Lattimore & Assoc.                  8’         <1’

Lucille and Tony Franz                           >8’         <0.5’

Tanya Smith                                      >8’         1’

Exh. 1771, Delft University, Comparison flood depth development between Katrina event and
Scenario 2C (Jan. 2009).

       539. Based on the foregoing data, the MR-GO was a substantial factor in the

catastrophic flooding of Plaintiffs’ property. Indeed, none of the Plaintiffs’ property would have

sustained catastrophic flooding but for the MR-GO’s defective conditions.

       540. Rainfall at Plaintiffs’ property was negligible compared to the floodwaters and did

not catastrophically flood their property. Exhs. 110-114, Crawford Expert Reports (April 2008).

       541. Plaintiffs’ property was not flooded due to pump failures or other reasons.

       542. Hurricane Katrina was nominally a storm that fit most SPH criteria. Sustained

winds over the Greater New Orleans metropolitan area were that of a Category 1 or Category 2

strength. Exh. 1600, Tropical Cyclone Report (Dec. 2005) at p. 8.



                                                 162
 Case 2:05-cv-04182-SRD-JCW Document 19020-13 Filed 06/19/09 Page 10 of 17




       543. Because the eye of the counterclockwise-moving hurricane passed to the east of

New Orleans, the hurricane threw severe wind loads and storm surges west onto an edge of the

LPV flood protection systems that protected the northern edge of the Ninth Ward and St. Bernard

Parish, and excess surge easily slid over the flood control structures. The surge overtopped large

sections during the morning of August 29th east of New Orleans, in Orleans and St. Bernard

Parish, and it also pushed water up Reach 1/GIWW and into the IHNC. Exh. 22, A Failure of

Initiative, p. 94; Exh. 26, Decision Making Chronology, p. 3-36.

       544. As the eye approached New Orleans, Katrina shoved a 14 to 17 foot storm surge up

the “funnel” created by the convergence of the south bank of the MR-GO and the north bank of

Reach 1/GIWW focusing a torrent of water on the IHNC. This caused the first flooding. Exh.

23, A Nation Still Unprepared at pp. 53-55, Exh. 7, Kemp §702c Expert Report (Sept. 2007) at

pp. 25-32 at ¶¶ 32-42.

       545. Upon reaching Lake Pontchartrain, Katrina’s winds produced a southward surge of

lakewater along the northern edges of the Orleans East Bank and New Orleans East polders, with

overtopping and a breach in New Orleans East, adjacent to the Lakefront Airport. Exh. 23, A

Nation Still Unprepared at pp. 53-55, Exh. 7, Kemp 702c Expert Report (Sept. 2007) at pp. 25-

32 at ¶¶ 32-42.

       546. The surge from Lake Borgne—and later the surge from Lake Pontchartrain—

streamed into the Industrial Canal and the MR-GO channel. Here, too, the floodwaters

overflowed the levees. Exh. 23, A Nation Still Unprepared at pp. 53-55, Exh. 7, Kemp 702c

Expert Report (Sept. 2007) at pp. 25-32 at ¶¶ 32-42.

       547. Some of the floodwaters into Greater New Orleans also emanated from the Gulf of

Mexico via Reach 2 because there was no surge barrier. The Bretschneider and Collins Report




                                               163
 Case 2:05-cv-04182-SRD-JCW Document 19020-13 Filed 06/19/09 Page 11 of 17




in 1966 acknowledged that Reach 2 could be a surge conduit. In 1988, the Corps recognized that

the Reach 2 channel itself could be a conduit for catastrophic flooding of Greater New Orleans.

Exh. 9, 1988 Recon Report at Comment 2, LMVD; Exh. 68, Bretschneider and Collins Report

(Sept. 1966) at p. 4.

       548. The peak storm surge versus design elevation at the time of Hurricane Katrina was

as follows:

                                             Design Elevation       Peak Surge

               Chalmette Loop                13 to 18 ft            15.5 to 18.7 ft

               IHNC                          13.5 ft                15 ft

               Citrus Back Levee             14 to 15 ft            15 to 17 ft

MSJ Exh. 20, IPET, pp. IV-2, IV-4, IV-27, IV-257, V-13-38.

       549. Over 50 years ago, the Corps recognized—and IPET confirmed more recently—

that from the perspective of storm surge propagation into the IHNC and New Orleans

Metropolitan area, the critical section of the MR-GO channel is the one where the GIWW and

Reach 1 occupy the same channel because it is through this connection that Lakes Pontchartrain

and Lake Borgne are hydraulically connected to one another via the IHNC. A water level

gradient is established within the IHNC and the GIWW/Reach 1; the gradient is determined by

the storm surge levels in both lakes. The presence of an open channel is the key factor. The

hydraulic connectivity existed prior to construction of the MR-GO due to the presence of the

GIWW channel. Exh. 20, IPET at p. IV-258; Exh. 10, House Doc. No. 231 at p. 17.

       550. The Corps recognized in 1988 that “the storm surge that inundated St. Bernard

Parish in 1965 and again in 1969 because of the wind direction during the storm, most likely

came from the east across Lake Borgne and the Biloxi Marsh . . . .” Exh. 193, Memorandum of




                                               164
 Case 2:05-cv-04182-SRD-JCW Document 19020-13 Filed 06/19/09 Page 12 of 17




Cecil W. Soileau (Chief, Hydraulics and Hydrologic Branch, Commenting on Army Corps,

Mississippi River-Gulf Outlet, St. Bernard Parish, Louisiana (Bank Erosion) at NED-256-57.

        551. The six-mile portion of the combined GIWW and Reach 1 is a 1,500 foot wide 40+

feet deep channel that connects the “funnel” with the IHNC. The Team Louisiana Report called

this stretch of the shipping channel “Hurricane Alley.” The highest surge observed in the

Greater New Orleans was against the MR-GO levee in the funnel formed by the convergence of

the levee systems built along the north bank of the Reach 1/GIWW and the south bank of the

MR-GO. The surge penetrated six miles into Greater New Orleans through the portion of the

GIWW that was enlarged as part of the MR-GO project. MSJ Exh. 4, Team Louisiana Report at

pp. 28, 33, 59, Fig. 15; Exh. 91, Kemp Expert Report (July 2008) at pp. 95-148.

Upper St. Bernard Parish

        552. The flooding of upper St. Bernard Parish was caused by waters originating in Lake

Borgne and Reach 2 overwhelming the MR-GO banks and flood protection works along Reach

2, passing to the west over the largely deteriorated wetlands (Central Wetlands Unit),

overtopping the 40 Arpent Canal Levee and flowing into the population areas of Chalmette and

the Lower 9th Ward. Exh. 28, Dalrymple Depo. (Sept. 18, 2007) at 137:12-138:14; Exh. 53,

Delft University Flood Report (July 2007) at pp. 38-41; Exh. 71, Bea Expert Report (July 2008)

at p. 12.

        553. Eyewitnesses living in Chalmette on August 29, 2005 saw water flowing over the

40 Arpent Canal Levee at about 8:30 a.m. Within a matter of minutes, over ten feet of water

engulfed their homes. Trial testimony of witnesses Glen Diaz and Donald Riley.

        554. This time of flooding Chalmette (about 8:30 a.m.) is the time estimated by

Plaintiffs’ experts. Exh. 91, Kemp Expert Report (July 2008) at p. 63.




                                               165
 Case 2:05-cv-04182-SRD-JCW Document 19020-13 Filed 06/19/09 Page 13 of 17




       555. The waters that inundated St. Bernard Parish ponded to a high elevation of about 12

feet above mean sea level, destroying homes and businesses—including those of Plaintiffs Kent

Lattimore, Tanya Smith, and Lattimore & Associates—at all elevations above sea level in the

populated St. Bernard Parish. Exh. 31, Bea 702c Expert Report (Sept. 2007) at p. 85, ¶ 111.

New Orleans East

       556. The New Orleans East polder is bounded on the south by Reach 1/GIWW, on the

west by the IHNC, and on the north and east by Lake Pontchartrain and marshlands. Significant

levee overtopping and breaches occurred along Reach 1/GIWW. There were also a few breaches

along the floodwall on the IHNC near I-10, as well as overtopping of the floodwall near the

Lakefront Airport. Overtopping also occurred along the LPV structure at Lake Pontchartrain, but

to a much lesser degree than on Reach 1/GIWW. Therefore, the New Orleans East area received

floodwaters from all directions. Exh. 20, IPET at p. IV-190; Exh. 53, Delft University Flood

Report (July 2007) at pp. 26-36; Exh. 91, Kemp Expert Report (July 2008) at pp. 15, 38; Exh.

74, Bea Expert Decl. III (July 2008) at p. 14, ¶23; p. 152, Table 5.

       557. The flooding of the largely unpopulated area behind the New Orleans East Back

Levee came from waters in the GIWW that overtopped and/or breached the earthen flood

protection works on the north side. Exh. 28, Dalrymple Depo. (Sept. 18, 2007) at 140:9-141:14;

Exh. 91, Kemp Expert Report (July 2008) at pp. 15; Exh. 74, Bea Expert Decl. III (July 2008) at

p. 14, ¶23; p. 152, Table 5.

       558. The catastrophic flooding of New Orleans East was caused by floodwaters from the

Reach 1/GIWW funnel throat to the south. In addition, some of the water that flooded this area

likely came from breaches that occurred along the GIWW levee east of the Michoud Canal slip

that filled the marshy area behind the federal levee and then overtopped the local levee. Exh. 4,




                                                166
 Case 2:05-cv-04182-SRD-JCW Document 19020-13 Filed 06/19/09 Page 14 of 17




Team Louisiana Report at pp. 71-72, Figure 19; Exh. 20, IPET, p. IV-190-93; Exh. 91, Kemp

Expert Report (July 2008) at pp. 15, 38; Exh. 74, Bea Expert Decl. III (July 2008) at p. 14, ¶23;

p. 152, Table 5.

       559. Breaches along Reach1/GIWW affecting the residential areas of New Orleans East

were much less extensive than those affecting the MR-GO LPV structures on the south side of

the funnel. As a result, most flooding was caused by overtopping that stopped once surge levels

dropped. Exh. 4, Team Louisiana Report at pp. 71-72; Exh. 20, IPET at p. IV-190-93.

       560. The water level in New Orleans East initially got to +1.5 ft in some residential

areas close to sources of overtopping, and higher in the industrial land to the south, and in the

Bayou Sauvage marsh to the east. Exh. 4, Team Louisiana Report at pp. 71-72; Exh. 20, IPET at

p. IV-190-93.

       561. The overtopping of Reach 1/GIWW began at about 6 a.m. and subsided around

midnight on August 30, 2005 when the peak surge receded. Exh. 105, Vrijling Polder Flood

Simulations (July 2008) at pp. 17-19.

       562. Once the surge abated on the Reach 1/GIWW and the IHNC, the surge water that

had entered New Orleans East then spread out, dropping in some areas and rising in others until

it reached equilibrium more than a foot below mean sea level. Because Little Woods is so low,

however, with many homes between 8 and 12 feet below sea level, even flooding to this modest

elevation had catastrophic consequences. Exh. 4, Team Louisiana Report at pp. 71-72; Exh. 20,

IPET at p. IV-190-93.

Lower 9th Ward

       563. The floodwaters that catastrophically inundated the Lower 9th Ward—and the

property of Plaintiffs Anthony and Lucile Franz—came from three sources:




                                                167
 Case 2:05-cv-04182-SRD-JCW Document 19020-13 Filed 06/19/09 Page 15 of 17




         (a)    water in the Reach 2 channel that overtopped and breached the Reach 2 LPV

structures, filled the Central Wetlands Unit, passed over the 40 Aprent Canal Levee, and poured

into St. Bernard Parish and the Lower 9th Ward;

         (b)    water in the IHNC that overtopped and breached the LPV structures at the North

Breach and South Breaches on the eastern side; and

         (c)    water from overtopping of the southern side of Reach 1/GIWW.

Exh. 105, Vrijling Polder Flood Simulations (July 2008) at pp. 25-28; Exh. 91, Kemp Expert

Report (July 2008) at pp. 3, 15-16.

         564. The St. Bernard polder (bowl) is one single area—with a minor, very low divider at

the railroad tracks—that includes upper St. Bernard Parish and the Lower 9th Ward. By 8:30

a.m. on August 29th, water was overflowing the 40 Arpent Canal Levee and inundating areas

both east and west of this divider. Trial testimony of Glenn Diaz; Trial testimony of Donald

Riley.

         565. Water entering the St. Bernard polder from the east—originating in Reach 2 and

then filling up the Central Wetlands, and then overflowing the 40th Arpent Canal Levee—was

distributed throughout upper St. Bernard Parish and the Lower 9th Ward. Exh. 105, Vrijling

Polder Flood Simulations (July 2008) at pp. 25-28; Exh. 91, Kemp Expert Report (July 2008) at

pp. 3, 15-16.

         566. Some of the flooding of the Lower 9th Ward was also caused by the waters

overflowing the flood protection works on the east side of the IHNC and two breaches of flood

protection works on the east side and some overtopping of LPV structures. The South Breach

was the largest—nearly 900 feet in length. Overtopping and scouring occurred at both ends of

the breach. Exh. 28, Dalrymple Depo. (Sept. 18, 2007) at 138:7-139:9; Exh. 105, Vrijling Polder




                                               168
 Case 2:05-cv-04182-SRD-JCW Document 19020-13 Filed 06/19/09 Page 16 of 17




Flood Simulations (July 2008) at pp. 25-28; Exh. 20, IPET at p. IV-200; Exh. 73, Bea Expert

Decl. II (July 2008) at p. 15, ¶25.

       567. The North Breach occurred at about 7:30 am on August 29th and flooding lasted

until after August 30, 2005 when the surge receded. Exh. 105, Vrijling Polder Flood Simulations

(July 2008) at pp. 25-28.

       568. The South Breach occurred at about 9:00 a.m. on August 29th and flooding lasted

until after August 30, 2005 when the surge receded. Exh. 105, Vrijling Polder Flood Simulations

(July 2008) at pp. 25-28.

       569. While the North and South Breaches had a local effect on the time of onset of

flooding in Lower 9th Ward which was earlier than flooding from Reach 1 and Reach 2, the

maximum water levels in the St. Bernard Polder (including the Lower 9th Ward) was determined

exclusively by flooding from Reach 2. In other words, the catastrophic flooding of the Lower

9th Ward was caused by floodwaters originating in Reach 2. Steven Fitzgerald Expert Report

(Dec. 2008) (Defendant’s Expert) at p. 20.

       570. With respect to sources of flooding of the Lower 9th Ward, only a relatively small

percentage of the total volume came from the North and South Breaches along the IHNC. Most

of the remaining floodwaters came from Reach 2, with some minor contribution from Reach 1.

Exh. 4, Team Louisiana Report at p. 80; Steven Fitzgerald Expert Report (Dec. 2008)

(Defendant’s Expert) at p. 20.

       571. Without the IHNC breaches, almost the same volume of floodwater enters the

populated area of the St. Bernard bowl—upper St. Bernard Parish and Lower 9th Ward—

compared with the scenario of MR-GO breaches plus overtopping plus rain. Without the IHNC

breaches, it takes a little longer in the western part of bowl to reach the peak water level, but the




                                                 169
 Case 2:05-cv-04182-SRD-JCW Document 19020-13 Filed 06/19/09 Page 17 of 17




peak itself is only marginally lower. In the eastern part of the bowl, the influence of the IHNC

breaches on the development of the water level is even smaller. Thus, even without the

floodwater originating in the IHNC, the Lower 9th Ward—and the property of Plaintiffs

Anthony and Lucille Franz—would have catastrophically flooded. Exh. 53, Delft University

Flood Report (July 2007) at p. 45.

                                           CAUSATION

        572. Based on the foregoing findings, the Court has determined that the MR-GO’s

defective conditions were a cause in fact of the catastrophic flooding of Plaintiffs’ property. If

there had been no enhanced surge and intensified waves caused by the MR-GO’s defects, there

would have been no catastrophic flooding of New Orleans East, Lower 9th Ward, and Saint

Bernard Parish (and Plaintiffs’ property). Alternatively, the evidence also shows that but for the

enhanced surge and intensified waves caused by the MR-GO’s defects as discussed above,

Plaintiffs’ property would have experienced only minor flooding, if any, that would not have

resulted in their destruction.

        573.    The MR-GO’s five major adverse effects —creation of a direct, unmitigated surge

conduit from the Gulf of Mexico, the unmitigated “funnel effect,” destroyed wetlands,

substantial channel widening, and accelerated and increased subsidence of LPV structures—were

substantial contributing factors to the catastrophic flooding of the Plaintiffs’ homes and

communities. Exh. 91, Kemp Expert Report (July 2008) at pp. 2-3, 7, 38, 196; Exh. 81, Bea

Expert Report (Jan. 2009) at pp. 2-7.

        574.    These effects were not only more than trivial—they were significant contributors

to the catastrophic flooding of Plaintiffs’ property.




                                                 170
